

People v Lopez (2023 NY Slip Op 50429(U))



[*1]


People v Lopez (Stephanie)


2023 NY Slip Op 50429(U) [78 Misc 3d 132(A)]


Decided on May 10, 2023


Appellate Term, First Department


Published by New York State Law Reporting
Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be
published in the printed Official Reports.



Decided on May 10, 2023
SUPREME COURT, APPELLATE TERM, FIRST
DEPARTMENT

PRESENT: Hagler, P.J., Tisch, Michael, JJ.



571050/18

The People of the State of New
York, Respondent, 
againstStephanie Lopez,
Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York,
Bronx County (Julio Rodriguez III, J.), rendered September 17, 2018, convicting her,
upon her plea of guilty, of assault in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Julio Rodriguez III, J.), rendered September 17, 2018,
affirmed.
Since defendant waived prosecution by information, the accusatory instrument only
had to satisfy the reasonable cause requirement of a misdemeanor complaint (see
People v Dumay, 23 NY3d 518, 522 [2014]). So viewed, the accusatory instrument
was jurisdictionally valid because it described facts of an evidentiary nature establishing
reasonable cause to believe that defendant was guilty of assault in the third degree
(see Penal Law § 120.00[1]). The instrument recites that defendant, while
robbing the victim with a gun, "struck" him "repeatedly" in the "face and body with an
open hand," causing him to "suffer redness and substantial pain to his face." Giving these
allegations "a fair and not overly restrictive or technical reading" (People v
Casey, 95 NY2d 354, 360 [2000]), we find "as a matter of common sense and
reasonable pleading" (People v Davis, 13 NY3d 17, 31 [2009]), that they were
sufficient at the pleading stage to support a finding that the defendant's actions
constituted more than mere "petty slaps, shoves, kicks and the like delivered out of
hostility, meanness and similar motives" (Matter of Philip A., 49 NY2d 198, 200
[1980]; see People v Henderson, 92 NY2d 677 [1999]), and that they caused
"more than slight or trivial pain" (People v Chiddick, 8 NY3d 445, 447 [2007];
see also People v Guidice, 83 NY2d 630, 636 [1994]). Defendant's intent to
cause physical injury was inferable from her actions (see Matter of Edward H., 61 AD3d 473 [2009]; Matter
of Joseph J., 299 AD2d 235 [2002]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: May 10, 2023









